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           NOTICE REGARDING TELEPHONIC CHAPTER 7 § 341
         MEETINGS IN THE EASTERN DISTRICT OF PENNSYLVANIA
                                     (Effective April 24, 2020)

On April 24, 2020, the United States Trustee for Region 3 issued a supplemental
notice continuing all in-person chapter 7, 12, and 13 section 341 meetings for cases
filed through July 10, 2020. Chapter 13 debtors should refer to their standing
trustee’s protocol or website for additional information.

All debtor attorneys and debtors are encouraged to participate in section 341
meetings by telephone, or by such remote means as the trustee has established and
noticed. Attorneys and debtors may call in from separate locations. Creditors and
creditor attorneys may appear remotely and should use the information provided
below or on the docket to participate.

All parties are encouraged to contact the case trustee, check the case docket, and th
UST website for up-to-date information about section 341 meetings of creditors.


Unless otherwise instructed, to participate in a telephonic section 341 meeting, you
should use the Call-In Number and Passcode assigned to your trustee, which will b
posted to the case docket prior to the section 341 meeting date.

Unless otherwise directed by your trustee, please call-in five minutes before your
assigned meeting time and mute your telephone until your case is called.
Please follow the instructions below to ensure a smooth telephonic section 341
meeting of creditors.

    •   You must use a touch-tone phone.
    •   If you have a choice, use a landline phone, instead of a cell phone.
    •   Dial the call-in number and then enter the passcode, which consists of 7
        numbers and is followed by a # sign.
    •   Make the call from a quiet area where there is as little background noise as
        possible.
    •   Mute your phone and do not speak until the bankruptcy trustee calls your ca (Other
        meetings of creditors will likely be in session when you call in. You wi still be able to
        hear the trustee even when your phone is muted.)
    •   Unmute your phone when the trustee calls your case so that the trustee can hear
        you.
    •   Wait until the trustee calls your case before speaking because more than one case
        may be waiting on the conference line at any given time.
    •   When speaking, identify yourself.
    •   Do not put the phone on hold at any time after the call is connected.
    •   Once your meeting of creditors is finished, hang up.
    •   If you become disconnected before your meeting of creditors is finished, call back.

    •   If you are calling in from another country, please see the additional information
        available at:
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       https://www.mymeetings.com/audioconferencing/pdf/GlobalAccessDialingInfo
       ation.pdf

Debtor’s counsel must verify on the record that they have confirmed their client’s
identity prior to the section 341 meeting of creditors, either via Facetime or Skype o
other means.

Required documents for the section 341 meeting of creditors should be provided to t
trustee a week prior to the section 341 meeting of creditors. These document
should include information sufficient for the trustee to verify the debtor’s SSN.
Debtors shall have these documents available during the section 341 meeting of
creditors in the event there are questions about the information in the documents.

The section 341 meeting of creditors will be recorded by the trustee. Any other
recordings are prohibited.
Please follow the instructions below for Trustee Shubert’s 341a meetings to ensure a
smooth telephonic section 341 meeting of creditors.
   •   If joining using Zoom please use the following information: To join the meeting use
       the url - https://zoom.us/j/7680123710 once connected use the Meeting ID: 768 012
       3710. Passcode: 956698
   •   If joining Telephonic only, please use the following information on the day of your
       341 meeting: Dial in Number: +1 929 205 6099 Meeting ID: 768 012 3710;
       Passcode: 956698
   •   You must use a touch-tone phone.
   •   If you have a choice, use a landline phone, instead of a cell phone.
   •   Dial the call-in number and then enter the meeting ID, which consists of 10
       numbers and is followed by a # sign.
   •   Make the call from a quiet area where there is as little background noise as
       possible.
   •   Mute your phone and do not speak until the bankruptcy trustee calls your case.
       (Other meetings of creditors will likely be in session when you call in. You will
       still be able to hear the trustee even when your phone is muted.)
   •   Unmute your phone when the trustee calls your case so that the trustee can
       hear you.
   •   Wait until the trustee calls your case before speaking because more than one
       case may be waiting on the conference line at any given time.
   •   When speaking, identify yourself.
   •   Do not put the phone on hold at any time after the call is connected.
   •   Once your meeting of creditors is finished, hang up.
   •   If you become disconnected before your meeting of creditors is finished, call
       back.
   •   If you are calling in from another country, please see the additional information
       available at:
       https://www.mymeetings.com/audioconferencing/pdf/GlobalAccessDialingInform
       ation.pdf

Debtor’s counsel must verify on the record that they have confirmed their client’s
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recordings are prohibited.

Any questions or problems please contact the Trustee via email at
Christine.shubert@comcast.net
